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                                 UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA
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 9                                             )
                                   Plaintiffs, )                 Case No. 2:13-cr-00018-JCM-GWF
10                                             )
     vs.                                       )                 ORDER
11                                             )
                                               )
12   LEON BENZER, et al.                       )
                                   Defendants. )
13   __________________________________________)
14          This matter comes before the Court on Defendant Keith E. Gregory’s Motion to Seal
15   Supplement to his Motion to Sever (#347). Having reviewed Defendant Gregory’s Motion, and
16   good cause appearing,
17          IT IS HEREBY ORDERED that Exhibit A to Defendant Gregory’s Motion to Sever is
18   temporarily sealed until the Court has the opportunity to review and determine whether sealing is
19   appropriate.
20                  DATED this 16th day of September, 2014.
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22                                                ______________________________________
                                                  GEORGE FOLEY, JR.
23                                                United States Magistrate Judge
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